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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


                                                    No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS’ CONCUSSION INJURY                          MDL No. 2323
LITIGATION




                                                    Hon. Anita B. Brody
THIS DOCUMENT RELATES TO:

ALL ACTIONS



                                EXPLANATION AND ORDER

       It has come to the Court’s attention that members of the class or their representatives

have assigned or attempted to assign monetary claims to third parties. Under the unambiguous

language of the Settlement Agreement, Settlement Class Members1 are prohibited from assigning

or attempting to assign their monetary claims to third parties, and any agreement making such an

assignment or attempt to assign is void, invalid and of no force and effect. Additionally, under

the Settlement Agreement, the Claims Administrator is prohibited from paying a Class

Member’s monetary award to any third party that holds an assignment or an attempted

assignment (“Third-Party Funder”).2

       The purpose of the anti-assignment provision is to protect the interests of Class Members

by recognizing that Class Members receiving monetary awards are by definition cognitively

1
  Reference to Class Members includes any Class or Subclass Representative. See Settlement
Agreement § 30.1.
2
  The Claims Administrator, BrownGreer, has already made an official statement that it will not
recognize the assignment of any monetary claims. See NFL Concussion Settlement Website,
Frequently Asked Questions 5.31, available at https://www.nflconcussionsettlement.com/Un-
Secure/FAQDetails.aspx?q=67#67.
                                                1
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impaired. As the fiduciary of the Class, it is the Court’s obligation to enforce this provision of

the Settlement Agreement.

BACKGROUND

       The administration of large settlements can provide unique challenges to the legal system

as a whole, and the administration of the NFL Concussion Settlement has certainly been no

exception. The issue before the Court was first raised by litigation before Judge Loretta A.

Preska in the Southern District of New York. In that litigation, the Consumer Financial

Protection Bureau (“CFPB”) and the People of the State of New York (“NYAG”) brought suit

against RD Legal Funding, RD Legal Finance, LCC, RD Legal Funding Partners, LP, and Roni

Dersovitz (collectively, “RD Legal”). As part of that suit, RD Legal3 asserted that assignments of

Class Member’s monetary claims are permitted under the NFL Concussion Settlement

Agreement. Upon learning of that assertion, Co-Lead Class Counsel, Chris Seeger, filed an

amicus memorandum before Judge Preska disputing RD Legal’s claims. See CFPB, et al. v. RD

Legal Funding, LCC, et al., No. 17-cv-890 (S.D.N.Y. Sept. 8, 2017), ECF No. 45.

       Judge Preska was presented with the question of whether “the NFL Concussion Litigation

settlement agreement forbids assignments of settlement benefits.” Order at 4, RD Legal Funding,

No. 17-cv-890 (S.D.N.Y. Sept. 8, 2017), ECF No. 59. Judge Preska referred that question to this

Court because it implicates the administration of the settlement and the interpretation of the

Settlement Agreement—over which this Court has continuing jurisdiction. See Settlement

Agreement § 27.1, ECF No. 6481-1 (“Any disputes or controversies arising out of, or related to,

the interpretation, implementation, administration, and enforcement of this Settlement

Agreement will be made by motion to the Court.”); see also In re Nat. Football League Players'

3
 RD Legal is a Third-Party Funder purports to have purchased assignments of Class Member’s
monetary claims.
                                                  2
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Concussion Injury Litig., 307 F.R.D. 351, 426 (E.D. Pa. 2015) (“The Court retains continuing

and exclusive jurisdiction over this action including jurisdiction over . . . all Settlement Class

Members . . . .”).4

DISCUSSION

       The Settlement Agreement is interpreted under New York Law, Settlement Agreement §

27.1(a), ECF 6481-1, and New York law allows parties to void assignments of contractual rights

so long as the anti-assignment language is unambiguous, Neuroaxis Neurosurgical Associates,

PC v. Costco Wholesale Co., 919 F. Supp. 2d 345, 352 (S.D.N.Y. 2013) (collecting cases).

       In order to protect Class Members, the Settlement Agreement unambiguously prohibits

Class Members from assigning claims or attempting to assign claims and renders any such

assignment void, invalid and of no force and effect.

       Section 30.1 No Assignment of Claims. Neither the Settlement Class nor any
       Class or Subclass Representative or Settlement Class Member has assigned, will
       assign, or will attempt to assign, to any person or entity other than the NFL
       Parties any rights or claims relating to the subject matter of the Class Action
       Complaint. Any such assignment, or attempt to assign, to any person or entity
       other than the NFL Parties any rights or claims relating to the subject matter of
       the Class Action Complaint will be void, invalid, and of no force and effect and
       the Claims Administrator shall not recognize any such action.

Settlement Agreement, ECF No. 6481-1.

       The above section bars the assignment of a Class Member’s monetary claims—as can be

shown by a simple syllogism. Section 30.1 prevents a Settlement Class Member from assigning

“any rights or claims relating to the subject matter of the Class Action Complaint.” Id. The

subject matter of the Class Action Complaint includes the allegations that directly produced the

Settlement Agreement and its monetary claim structure. Thus, any monetary claims under the


4
 To address the question, Co-lead Class Counsel, the CFPB, NYAG, and RD Legal submitted
briefs to this Court. See ECF No. 8380.

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Settlement Agreement are “relat[ed] to” 5 the Class Action Complaint, and assignment of those

claims is prohibited.6

       Therefore, under the Settlement Agreement, Class Members are prohibited from

assigning or attempting to assign any monetary claims, and any such purported assignment is

void, invalid and of no force and effect. Furthermore, the Settlement Agreement instructs that the

Claims Administrator shall not recognize any such action taken by a Settlement Class Member.

Thus, Class Members simply cannot enter into a binding agreement that assigns or attempts to

assign their claims. A Third-Party Funder that failed to perform proper due diligence before

deciding to enter such an agreement is prohibited from now reaping the benefit of the contract.



5
  Under New York state law, the phrase “relating to” is commonly given broad scope. See, e.g.,
Coregis Ins. Co. v. Am. Health Found., Inc., 241 F.3d 123, 128 (2d Cir. 2001) (defining “related
to” broadly—and more broadly than “arising out of”).
6
         RD Legal argues that the assignment of a Class Member’s monetary claim is permissible
under the Settlement Agreement. Two main arguments are given, but neither is persuasive.
         RD Legal performs linguistic backflips trying to demonstrate that the phrase “rights or
claims relating to the subject matter of the Class Action Complaint” does not include Class
Members’ monetary claims and is instead limited to Class Members’ tort claims. RD Legal’s
argument fails because its entire analysis is predicated on excising the phrase “relating to” from
its interpretation of the Settlement Agreement’s text. See RD Legal Mem. 10-12, ECF No. 8435
(repeating the phrase “subject matter of the Class Action Complaint” without discussing, at all,
the meaning or existence of the preceding words “relating to”). The phrase “relating to” expands
the definition of “subject matter of the Class Action Complaint” to include monetary claims
under the settlement agreement. RD Legal evades discussing this important phrase, and
therefore, its definition of the “plain meaning” of the Settlement Agreement is incorrect.
         Also, RD Legal argues that Article 9 of the Uniform Commercial Code invalidates any
attempts to restrict the assignment of payments stemming from a legal settlement. RD Legal
argues that under Article 9, parties cannot restrict assignment of “a general intangible,” which
includes settlement proceeds. RD Legal Mem. 8-9, ECF No. 8435. Even if Article 9 covers the
Settlement Agreement, the monetary claims under the agreement would be excluded by New
York’s version of the UCC.
         The invalidation of anti-assignment provisions does not apply to “a claim or right to
receive compensation for injuries.” N.Y. U.C.C. Law § 9-408(d)(1). Clearly, an award that pays
money for suffering head concussions is “compensation for injuries.” Therefore, New York’s
UCC provisions allow for parties to create terms that prevent assignment of settlement claims,
and RD Legal’s argument that the Settlement Agreement cannot restrict assignment under the
UCC fails.
                                                4
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       Thus, based on the above reasoning, the answer to Judge Preska’s question is: yes, the

NFL Concussion Litigation Settlement Agreement forbids assignments of settlement benefits.

CONCLUSION

       The Claims Administrator is instructed to inquire of every Class Member, who is eligible

for an award, as to whether that Class Member has made an assignment or attempt to assign.

Every such class member must provide a verified response to the Claims Administrator. If an

assignment or attempt to assign has been made, the Class Member must also submit to the

Claims Administrator any documents related to the transaction, including any documents signed

by the Class Member’s attorney.

       To the extent that any Class Member has entered into an agreement that assigned or

attempted to assign any monetary claims, that agreement is void, invalid and of no force and

effect. Class Members receiving awards are, by definition, cognitively impaired. A Third-Party

funder entering an agreement with a Class Member would obviously know that simple fact.

Additionally, the anti-assignment language in the Settlement Agreement clearly states the intent

that Class Members are unable to make assignments. Thus, the Court has little sympathy for a

Third-Party Funder that will not receive a return on its “investment.” Nevertheless, under the

principle of rescission, Class Members should return to the Third-Party Funder the amount

already paid to them. Accordingly, if the Third-Party Funder is willing to accept rescission and

execute a valid waiver relinquishing any claims or rights under the entire agreement creating the

assignment or attempted assignment, then the Claims Administrator will be authorized to

withhold—from the Class Member’s monetary award—the amount already paid to the Class

Member under the agreement and return it to the Third-Party Funder.

       Further instructions to the Claims Administrator will follow. So ORDERED.



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                                         s/Anita B. Brody

                                   ____________________________________
                                   ANITA B. BRODY, J.
                                                     12/8/2017
                                   ____________________________________
                                   DATE


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